          Exhibit 15




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                       Troy Aurelius Titus Declaration

                1.     My name is Troy Aurelius Titus. I am incarcerated at Butner LSCI
(“Low”), in housing unit Vance B, at FCC Butner. My Bureau of Prisons Register Number
is 58299083.
                2.     I am 54 years old.
                3.     I entered BOP custody on October 6, 2010. I am serving a 30-year
sentence for wire fraud. My projected release date is January 8, 2035.
                4.     I have no medical conditions.
                5.     Our unit has been on lockdown since around mid-March 2020,
following a week or two of partial lockdown.
                6.     If we are not on a work detail, we are on lockdown inside the unit
24 hours a day. People on work details have been leaving the unit for work through May
19th, 2020.
                7.     We are not allowed to leave the unit to go to the outdoor recreation
area, the education center, which houses classrooms, a typing room, LEXIS computers,
and a library, the dining hall, the religious services area, the commissary, the medical
center, the vocational training area, or visit the work areas, unless you are a qualifying
inmate working in that post.
                8.     We have not been able to have any visitors since about early March.
                9.     I am housed in a dormitory-style housing unit in cubicles. In my
unit, there are 62 cubicles. Seven cubicles are occupied by a single person with a hospital
bed and a wheelchair. Two cubicles are slightly smaller and are occupied by two men with
bunked beds. The rest of the cubicles are 80 square feet. Eight of these cubes have two
men, the remaining 45 house three men.
                10. On the morning of May 20th, 2020 our unit officer count reported
141 men in my unit. Prior to lockdown, there were about 160 men in my unit on any day.
                11. Currently, two of the cubicles for men using wheelchairs are vacant.
Since March, some men have left the unit because of compassionate release, scheduled
released, FMC, and death; since then, we received one new inmate. Most three-person
cubicles still have three men.
                12. My cubicle was occupied by three people until last week, when one
person was released on compassionate release.
                13. Each cubicle contains a bunk or bed, lockers, and a plastic armchair,
which take up most of the floor space. In the 45 cubicles that house three people each, the
remaining available floor space is less than 20 square feet. Our cubicles are divided by
half walls about five and a half feet high and do not have doors.
                14. In my cubicle, I am always less than six feet of another person,
whether lying down or sitting up or standing. These include my up to two cubemates and
the inmate in the neighboring cubicle on the close side of the dividing wall. The top bunk
of a neighboring cubicle is at the top of our common half wall.
                15. We line up to receive medications, make sick-call or phone calls,
send emails, take showers, use the toilets, and eat our meals.




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                16. The lines for meals are the longest, with thirty to eighty incarcerated
men in line at one time. People are usually within a foot of one another while waiting in
lines.
                17. We cannot social distance anywhere, but it is particularly hard to
maintain distance in hallways, bathrooms, and what little common areas we have access
to.
                18. Everyone in the housing unit shares about 12 toilets, 12 showers,
and 10 sinks total in two bathrooms; of those, there are two accessible toilets and one
working accessible shower for inmates with disabilities. The toilets are less than three feet
from each other. The showers are about three from each other. The sinks are about two
feet or less from each other. We are shoulder to shoulder at the sinks. People are in very
close contact in the bathrooms. The bathrooms are cleaned twice a day, but they become
dirty again very quickly because of the number of people using them.
                19. There are eight phones for the housing unit. The phones are about
two feet apart. As of about May 19, 2020, two phones can be in use at any given time for
10 minutes at a time. People wait about 30-60 minutes in line to use the phone. There is
no social distancing in the phone lines. The phones are cleaned once in the morning. It is
up to the person using the phone to do their best to clean it if they choose to. However,
we are not given cleaning products to use for this.
                20. There are five computers in a computer room. The computers are
pretty much always in use. People wait around, close to each other, outside the computer
room while they wait to get on the computer. The computers are supposed to be cleaned
once in the morning. They are not cleaned in between uses.
                21. There is no place to stay safe from the possibility of catching a virus.
                22. Beyond the cramped nature of the LSCI facility that makes it
impossible to socially distance, our facility has not been isolated from Covid-19 cases
outside FCC Butner or in other facilities on the Butner Complex.
                23. LSCI staff live and shop in surrounding cities and work across the
Butner Complex.
                24. For some time, it appeared to me that Butner Complex staff were
not tested for Covid-19 before entering the Butner facilities to report for work. Only in
the past two to three weeks have I started seeing colored wristbands that appear to indicate
that a staff member has been tested. At least one officer stopped wearing a mask once he
got a wristband. Other officers with wristbands are increasingly lax about how often they
wear a mask. We have no way of knowing if staff temperatures are being checked
regularly, or how frequently they are being tested.
                25. Several staff members have failed to wear their face-masks while on
duty.
                26. Of those staff members who do wear masks, many have pulled their
mask down to yell announcements within two to three feet of a crowd or line of
incarcerated people since late March.
                27. We were provided two face masks in late March. The face masks
provided to inmates here are not N95-type protective masks, but made of thin, porous
material. Not everyone wears their masks when moving around the unit or standing in
line.




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                28. There is no source for repair or replacement of damaged or lost
masks. We are not given gloves.
                29. Incarcerated men are still not provided with disinfectant, other than
orderlies. The chemicals that are provided to orderlies are not labeled and recently appear
to consist of watered-down bleach-alternative. We are not provided with hand sanitizer,
chemical disinfectant wipes, or any other supplies to keep our cubicles clean.
                30. In the last few days, we were told that starting this Thursday, May
21, 2020 at 1:00 p.m., our unit will be moved outside for 60-90 minutes while our cubes
are sprayed with disinfectant. We were told that this will occur about weekly from now
on. However, they have postponed the disinfecting of units because of rain.
                31. Many LSCI inmates have already been infected. In about mid-
March, two inmates arriving at Butner Complex were quarantined in the SHU for 14 days
before being transferred to two different housing units Vance A and Durham B at LSCI
Butner. Shortly afterwards, they exhibited Covid-19 symptoms, the specific symptoms of
which I am not sure, and were moved back to the SHU, per the facility’s procedure to
move any individual who exhibited a fever into isolation. I learned this from a fellow
inmate who learned this while talking to a Butner staff member. The inmate in question
talks candidly and frequently with staff members here, rapport gained from many years
spent at Butner Complex.
                32. Shortly thereafter, other incarcerated men in those two units started
coming down with temperatures and were taken away to quarantine. I and others in my
housing unit saw through our windows that about nine men were taken out of the Durham
B housing unit.
                33. Vance A’s official unit officer count has moved from the low 160s
to the high 130s since the lockdown. I have seen several Vance A inmates moved to the
SHU. Vance A’s count as of May 19, 2020, was 137. As of May 21st, this number was
132.
                34. The inmate population in my unit is not being routinely tested for
Covid-19. Until May 19th, men working limited work details were checked sporadically
for a fever. Men are supposed to be checked daily before going to work but some do not
attend the check and it is not enforced.
                35. Men in confirmed infected units are being tested daily for fever. I
know this because I have heard announcements on the intercom telling inmates in
adjoining units of this same building to report to their cubes for temperature checks.
                36. On May 20th, 2020, men in my unit were ordered to return to our
cubicles for a temperature check. At least one inmate was removed during that check. Not
all inmates were checked. I saw at least one inmate avoiding the check altogether. Staff
did not follow usual protocols to ensure men were in their cubes and stayed in their cubes
during the temperature check.
                37. Although inmates have been locked down in eight separate units
across LSCI, the following work details have intermingled daily while at work for roughly
eight to nine weeks until the last few days when a total lockdown was imposed on six of
the eight Butner Low units. Until the last few days, Vance A and Granville B inmates
worked at the medical center; Vance B and Granville B inmates worked in UNICOR;
Durham B, Durham A, and Vance B inmates worked in laundry; Granville B, Durham A,




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and Vance B inmates worked in food service; Vance B and Granville B inmates worked
at the commissary; and Wake B and Vance B inmates worked in safety. Only Wake A
inmates have not been working with inmates from another unit. This intermingling was
constant for eight or nine weeks after the first confirmed case of Covid-19. I know this
because I talk with the Vance B inmates who have work details and inquire about what
other units are working in their details. I was told about who is working at the medical
center by another person who personally observes daily who is working where while he
is on work detail.
                 38. Because of the increased spread of infection, as of May 18, 2020,
only Durham B and Vance B were allowed to send inmates to their work details.
                 39. As of May 19th, 2020, there were 144 men in my unit. On May 19th,
2020, five men were taken out of the unit because they were showing symptoms of Covid-
19, including a 65-year-old man who was removed after falling out of bed this morning.
He, along with other men in this unit, have been reporting fevers, chills, cold sweats, and
coughs. Only two of the men returned to the unit.
                 40. As of May 19, 2020, inmates returning from UNICOR shared that
they were informed by BOP staff that UNICOR is now shut down until further notice. At
this time, to my knowledge, only UNICOR has been shut down.
                 41. On May 18, 2020, inmates from all four units in my building –
Vance A, Vance B, Durham A, and Durham B – were called for Ramadan meal pick-up
at the same time, causing intermingling of non-infected units with infected units. One of
the four unit officers, Officer Vargas, refused to send people from his unit at the same
time.
                 42. Besides work-related cross-contamination, there is cross-
contamination between units by medical staff. Medical staff frequently do not change
masks, gloves, shoes, clothing, or do anything to disinfect themselves as they move from
one unit to the other. I have witnessed medical staff moving between Vance A and Vance
B through a connecting interior hallway separated by two sets of doors with windows in
the doors. They move from one unit to the other without taking any precautions to
decontaminate themselves or their cart of supplies and medications. These same staff
members often do two to three pill calls per shift per unit, during which they distribute
medication to inmates who require it. I observe how pill call is conducted nearly daily as
it is conducted for Vance B inmates in the front of my housing unit.
                 43. Shortly after the lockdown, all individuals incarcerated here were
barred from purchasing several over-the-counter medications from the commissary,
including aspirin and other pain relievers, fever and inflammation reducers.
                 44. The rationale for this exclusion provided to us by Butner Medical
was to prevent fevers in the prisoner population from going undetected.
                 45. Many of the men in my unit are elderly or have chronic illnesses and
disabilities. I know several people who take pain relievers from the commissary regularly
to manage their pain. Some of these men try to get pain medication from Butner Medical,
but they are told to purchase them from the commissary. They have not been able to do
this now that the medications are not for sale.
                 46. BOP’s response to the Covid-19 pandemic has not appeared to
comply with CDC guidelines nor be consistent with CARES Act authorizations or




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        Attorney General Barr's March 26, 2020 and April 3, 2020 directives to BOP. With the
        passage of the CARES Act and release of Attorney Barr’s directives, I was hopeful that
        people from Butner and from my unit would be transferred to home confinement, which
        would improve the ability to practice social distancing for those who remain within the
        facility.
                         47. Based on my observations of people in my unit, and conversations
        with them, I estimate that about 70% are at an elevated risk of death from Covid-19. I
        know of men in my unit who have Type II diabetes, autoimmune disease, heart disease,
        lung disease, liver disease, kidney disease, and those with organ transplants on immuno-
        suppressant medications. Many inmates housed at LSCI have been issued oxygen tanks,
        and many must use the nebulizers provided.
                         48. However, to my knowledge, no inmates have been transferred to
        CARES Act home confinement from LSCI Butner.
                         49. Although I have never filed a grievance, I am familiar with many
        inmates' filings and know that BOP works hard to routinely resist, delay, and deny them.
                         50. On about May 10th, a paper notice was posted in my housing unit
        informing us that there was a delay in processing Administrative Remedies requests
        because they had too many requests to handle. The announcement told us to stop filing
        administrative remedies until further notice.
                         51. I am filing this lawsuit to ask the court to enter an order that requires
        FCC Butner release a sufficient number of inmates so that we can socially distance and
        comply with CDC guidelines. Although I do not expect to be among those transferred to
        home confinement if such an order is entered, I am committed to trying to help the men I
        live with. FCC Butner has already lost several inmates to death by Covid-19, and dozens
        are confirmed infected. I suspect many more are already infected and many more will die
        if the court fails to help us.
                         52. I understand that being a class representative in this lawsuit means I
        will have to make decisions not just in my own interest, but also in the interest of the other
        people in the class, and I accept that responsibility.

I, Sarah Hinger, certify that I reviewed the information contained in this declaration with Mr.
Titus by telephone on May 21, 2020, and that he certified under penalty of perjury that the
information contained in this declaration was true and correct to the best of his knowledge.



/s/ Sarah Hinger

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